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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Diane Ford,                                          Civil File No. 0:18-cv-03196-DSD-
                                                     KMM
                         Plaintiff,

vs.
                                                  DEFENDANT’S MOTION TO
Delta Air Lines, Inc.,                          DISMISS AMENDED COMPLAINT

                         Defendant.



       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Delta

Air Lines, Inc. hereby moves the Court for an Order dismissing with prejudice all of

Plaintiff Diane Ford’s claims in the above-captioned case for failure to state a claim upon

which relief may be granted. This motion is based on Defendant’s Memorandum of Law

in support of the motion, the pleadings on file, the arguments of counsel, and all files,

records, and proceedings herein.

Dated: March 29, 2019                         DORSEY & WHITNEY LLP


                                              By /s/ JoLynn M. Markison __________
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